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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

DAVID DIMENT,                                       )
                                                    )
                     Plaintiff,                     )      1:19-cv-01389
                                                    )
       v.                                           )
                                                    )
CREDIT BUREAU OF CARBON                             )
COUNTY, INC., d/b/a                                 )
COLLECTION CENTER, INC.,                            )
                                                    )
                     Defendants.                    )

                                         COMPLAINT

       NOW COMES the Plaintiff, DAVID DIMENT, by and through his attorneys,

SMITHMARCO, P.C., and for his complaint against CREDIT BUREAU OF CARBON

COUNTY, INC., d/b/a COLLECTION CENTER, INC., Plaintiff states as follows:


                              I.        PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter “FDCPA”), 15 U.S.C. §1692, et seq., and the Fair Credit

Reporting Act (hereinafter “FCRA”), 15 U.S.C. §1681, et. seq.


                                  II.    JURISDICTION & VENUE

       2.     Jurisdiction arises under the FDCPA, 15 U.S.C. §1692 et seq., the FCRA, 15 U.S.C.

§1681, et. seq., and pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1337.

       3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b).




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                                          III.    PARTIES

           4.    DAVID DIMENT, (hereinafter, “Plaintiff”) is an individual residing in the City of

Round Lake, County of Lake, State of Illinois since November of 2018.

           5.    The debt that Plaintiff was allegedly obligated to pay was a debt allegedly owed by

Plaintiff to University of Colorado Health.

           6.    The debt that Plaintiff allegedly owed University of Colorado Health was for

medical services which were provided to Plaintiff in 2016.

           7.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1692a(3).

           8.    At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

U.S.C. §1681a(c).

           9.    CREDIT BUREAU OF CARBON COUNTY, INC., d/b/a COLLECTION

CENTER, INC., (hereinafter, “Defendant”) is a business entity engaged in the collection of debt

primarily in the Rocky Mountain region. Defendant’s principal place of business is located in the

State of Wyoming. At all times alleged in this Complaint, however, Defendant was attempting to

collect a debt from Plaintiff first in Colorado, and subsequently in Illinois after Plaintiff relocated

in October of 2018.

           10.   The principal purpose of Defendant’s business is the collection of debts allegedly

owed to third parties.

           11.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third

parties.

           12.   During the course of its efforts to collect debts allegedly owed to third parties,

Defendant sends to alleged debtors bills, statements, and/or other correspondence via the mail



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and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication, such as the telephone and facsimile.

          13.   At all relevant times, Defendant acted as a debt collector as that term is defined by

15 U.S.C. §1692a(6).

          14.   At all relevant times, Defendant acted through its duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.

                                       IV.     ALLEGATIONS

          15.   In or around July of 2016, Plaintiff visited a hospital in Loveland, Colorado and

received medical care.

          16.   At the time, Plaintiff was uninsured, but the State of Colorado permitted Plaintiff

to apply for Health First Colorado medical assistance benefits to retroactively cover past medical

costs.

          17.   On or about October 1, 2016, Plaintiff applied for Health First Colorado medical

assistance benefits, which would cover the medical expenses he received in July of 2016.

          18.   On or about August 30, 2017, University of Colorado Health initiated a lawsuit

against Plaintiff to collect the Debt. At this time, Plaintiff’s application for Health First Colorado

medical assistance benefits remained pending.

          19.   At the bottom of the complaint filed by University of Colorado Health appeared the

following language:

                “TO DISCUSS THIS CASE, PLAINTIFF(S) REQUESTS THAT
                DEFENDANTS CONTACT COLLECTIONCENTER, INC., THE
                COLLECTION AGENCY MAINTAINING THESE ACCOUNTS, AT 1-
                800-364-9901.”




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       20.     On December 29, 2017, Plaintiff’s application for Health First Colorado medical

assistance benefits was approved. Plaintiff was provided with a letter from State of Colorado

advising him that his application was approved; was provided with a Health First Colorado ID

number; and was notified that the Health First Colorado medical assistance benefits would cover

for past medical costs during July of 2016.

       21.     Shortly thereafter, Plaintiff notified University of Colorado Health’s attorney that

his application for Health First Colorado medical assistance benefits had been approved to cover

his past medical costs during July of 2016, and that he was therefore no longer obligated to pay

the Debt.

       22.     Upon information and belief, because Defendant was “maintaining” Plaintiff’s

account, University of Colorado Health’s attorney notified Defendant that Plaintiff’s application

for Health First Colorado medical assistance benefits had been approved.

       23.     On January 18, 2018, Plaintiff sent University of Colorado Health’s attorney

documentation from the State of Colorado that proved that Plaintiff had been approved for Health

First Colorado medical assistance benefits that would cover the Debt.

       24.     Upon information and belief, because Defendant was “maintaining” Plaintiff’s

account, University of Colorado Health’s attorney provided Defendant with the aforesaid

documentation from the State of Colorado that proved that Plaintiff had been approved for Health

First Colorado medical assistance benefits that would cover the Debt.

       25.     On February 22, 2018, the lawsuit initiated against Plaintiff by University of

Colorado Health to collect the Debt was dismissed.

       26.     Plaintiff is not obligated to pay the Debt pursuant to C.R.S. 25.5-4-301.




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                COUNT I: DAVID DIMENT v. COLLECTION CENTER, INC.
                          FOR VIOLATIONS OF THE FDCPA

       27.      Plaintiff re-alleges and incorporates by reference each of the preceding paragraphs

in this complaint as though fully set forth herein.

       28.      Defendant has reported the Debt to one or more “consumer reporting agency” as

that term is defined by §1681a(f) of the Fair Credit Reporting Act, (hereinafter, FCRA). 15 U.S.C.

§1681 et seq.

       29.      Defendant has reported the Debt to one or more consumer reporting agency as

recently as January of 2019.

       30.      Despite the fact that Plaintiff did not owe the Debt because Plaintiff had been

approved for Health First Colorado medical assistance benefits to retroactively cover the Debt,

Defendant reported the Debt as being owed by Plaintiff.

       31.      Each time Defendant reported the Debt to a consumer reporting agency, it was

attempting to collect the Debt from Plaintiff by “parking” it on his credit report and causing a

deleterious effect on his ability to obtain credit in order to persuade Plaintiff to pay the Debt.

       32.      By reporting the Debt to one or more consumer reporting agency despite the fact

that Plaintiff was not obligated to pay it, Defendant misrepresented the character, amount, or legal

status of the Debt.

       33.      By reporting the Debt to one or more consumer reporting agency despite the fact

that Plaintiff was not obligated to pay it, Defendant reported information which it knew or should

have known to be false.

       34.      In its attempts to collect the debt allegedly owed by Plaintiff to University of

Colorado Health, Defendant violated the FDCPA, 15 U.S.C. §1692, in one or more of the

following ways:

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               a. Used false, deceptive, misleading and unfair or unconscionable means to collect
                  or attempt to collect an alleged debt in violation of 15 U.S.C. §1692e;

               b. Falsely represented the character, amount, or legal status of any debt in
                  violation of 15 U.S.C. §1692e(2)(A);

               c. Communicated or threatened to communicate to any person credit information
                  which is known or which should be known to be false, including the failure to
                  communicate that a disputed debt is disputed in violation of 15 U.S.C.
                  §1692e(8);

               d. Was otherwise deceptive and failed to comply with the provisions of the
                  FDCPA.

       35.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered, and

continues to suffer, personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, DAVID DIMENT, by and through his attorneys, respectfully

prays for Judgment to be entered in favor of Plaintiff and against Defendant as follows:

               a.      All actual compensatory damages suffered;

               b.      Statutory damages of $1,000.00;

               c.      Plaintiff’s attorneys’ fees and costs;

               d.      Any other relief deemed appropriate by this Honorable Court.

              COUNT II: DAVID DIMENT v. COLLECTION CENTER, INC.
                         FOR VIOLATIONS OF THE FCRA

       36.     At all relevant times, credit reports as alleged in this pleading are “consumer

reports” as that term is defined by 15 U.S.C. §1681a(d).

       37.     Defendant has been providing derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to various credit reporting agencies,

as that term is defined by 15 U.S.C. 1681a(f).




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       38.     Defendant is aware that the credit reporting agencies to which they are providing

this information are going to disseminate this information to various other persons or parties who

will be reviewing this information for the purpose of extending credit, insurance or employment.

       39.     The inaccurate information of which Plaintiff complains is an account, or trade-

line, that reflects Plaintiff’s history of credit with University of Colorado Health, as reported by

Defendant. (hereinafter “the inaccurate information”).

       40.     Specifically, Plaintiff asserts that he owes no debt to University of Colorado Health

because he has been approved for Health First Colorado medical assistance benefits to

retroactively cover the Debt, and is therefore not obligated to pay it.

       41.     Despite the foregoing, Defendant has disseminated information that Plaintiff owes

a past due balance of $1,918 to University of Colorado Health and that such past due amount has

been placed for collection with Defendant.

       42.     The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor, and Plaintiff’s credit worthiness.

       43.     Credit reports containing the inaccurate information have been and continue to be

disseminated to various persons and credit grantors, both known and unknown.

       44.     In or around September of 2018, Plaintiff disputed the inaccurate information with

Experian by telephone communication to its respective representatives and by following its

established procedures for disputing consumer credit information.

       45.     Furthermore, Plaintiff submitted documents and other information with his dispute

to Experian that either proved that the disputed information contained within his credit reports was

inaccurate or, at the very least, provided evidence that supported Plaintiff’s contentions that the

disputed information was inaccurate.



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        46.     Upon information and belief, within five (5) days of Plaintiff disputing the

inaccurate information with Experian, Experian notified Defendant that Plaintiff disputed the

inaccurate information and the nature of Plaintiff’s dispute.

        47.     Defendant received notification from Experian that Plaintiff disputed the inaccurate

information and the nature of Plaintiff’s dispute.

        48.     Upon information and belief, Defendant received from Experian, notice of

Plaintiff’s dispute by an Automated Consumer Dispute Verification Notice.

        49.     Upon information and belief, Defendant received from Experian additional

information and documentation that Experian had received from Plaintiff relative to and in support

of Plaintiff’s dispute.

        50.     Defendant then and there owed Plaintiff a duty to assist Experian in a re-

investigation into the disputed information being reported about Plaintiff by Defendant.

        51.     Notwithstanding Plaintiff’s efforts and Defendant’s duties, Defendant continued to

publish and disseminate such inaccurate information to various credit reporting agencies.

        52.     Despite Plaintiff’s efforts to date, Defendant has nonetheless deliberately, willfully,

intentionally, recklessly and negligently repeatedly failed to perform reasonable re-investigations

of the above dispute as required by the FCRA, has failed to remove and/or correct the inaccurate

information, and has continued to report the derogatory inaccurate information about Plaintiff.

        53.     Plaintiff’s credit reports and file have been obtained from Experian and have been

reviewed many times by prospective and existing credit grantors and extenders of credit, and the

inaccurate information has been a substantial factor in precluding Plaintiff from receiving many

different credit offers and opportunities, known and unknown, and from receiving the most

favorable terms in financing and interest rates for credit offers that were ultimately made.



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       54.     As a result of Defendant’s conduct, Plaintiff has suffered actual damages in the

forms of lost credit opportunities, harm to credit reputation and credit score, and emotional distress.

       55.     At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of Defendant herein.

       56.     At all times pertinent hereto, the conduct of Defendant, as well as that of its agents,

servants and/or employees, was malicious, intentional, willful, reckless, and in grossly negligent

disregard for federal and state laws and the rights of Plaintiff herein.

       57.     Defendant violated sections 1681n and 1681o of the FCRA by engaging in the

following conduct that violates 15 U.S.C. §1681s-2(b):

               a. Willfully and negligently failing to conduct an investigation of the inaccurate
                  information that Plaintiff disputed;

               b. Willfully and negligently failing to review all relevant information concerning
                  Plaintiff’s account provided to Defendant;

               c. Willfully and negligently failing to report the inaccurate status of the inaccurate
                  information to all credit reporting agencies;

               d. Willfully and negligently failing to properly participate, investigate and comply
                  with the reinvestigations that were conducted by any and all credit reporting
                  agencies concerning the inaccurate information disputed by Plaintiff;

               e. Willfully and negligently continuing to furnish and disseminate inaccurate and
                  derogatory credit, account and other information concerning the Plaintiff to
                  credit reporting agencies and other entities despite knowing that said
                  information was inaccurate; and,

               f. Willfully and negligently failing to comply with the requirements imposed on
                  furnishers of information pursuant to 15 U.S.C. §1681s-2(b).

       58.       Defendant’s conduct was a direct and proximate cause, as well as a substantial

factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully above,

and as a result, Defendant is liable to compensate Plaintiff for the full amount of statutory, actual

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and punitive damages, along with attorneys’ fees and costs, as well as such other relief permitted

by law.

          WHEREFORE, Plaintiff, DAVID DIMENT, by and through his attorneys, respectfully

prays for Judgment to be entered in favor of Plaintiff and against Defendant as follows:

                a.     All actual compensatory damages suffered;

                b.     Statutory damages of $1,000.00;

                c.     Punitive damages;

                d.     Plaintiff’s attorneys’ fees and costs; and,

                e.     Any other relief deemed appropriate by this Honorable Court.

                                       V.      JURY DEMAND

          59.   Plaintiff hereby demands a trial by jury on all issues so triable.


                                                       Respectfully submitted,
                                                       DAVID DIMENT


                                                       By:     s/ David M. Marco
                                                               Attorney for Plaintiff

David M. Marco
IL Bar No. 6273315/FL Bar No. 125266
SMITHMARCO, P.C.
55 W. Monroe Street, Suite 1200
Chicago, IL 60603
Telephone: (312) 546-6539
Facsimile:    (888) 418-1277
E-Mail:       dmarco@smithmarco.com




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